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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                 EASTERN DIVISION

PEERLESS INDUSTRIES, INC.,

       Plaintiff,
                                                            Case No. 1:11-cv-1768
vs.
                                                            Honorable Joan H. Lefkow
CRIMSON AV, LLC,

       Defendant.



                          STIPULATION OF FINAL JUDGMENT
       WHEREAS, this is an action for patent infringement, trade dress infringement, tortious

interference with contract, civil conspiracy, and violations of the Illinois Trade Secrets Act, the

Illinois Consumer Fraud and Deceptive Business Practices Act, and the Illinois Deceptive Trade

Practices Act under U.S. and IL State laws (“the Litigation”), brought by Peerless Industries,

Inc., (“Peerless” or “Plaintiff”) against Crimson AV, LLC (“Crimson”) and Vladimir Gleyzer

(“Gleyzer”) (Crimson and Gleyzer are collectively referred to herein as “Defendants”);

       WHEREAS, this Court has jurisdiction over the claims of the Litigation pursuant to 28

U.S.C. §§1331, 1338;

       WHEREAS, Plaintiff has claimed in Count I of the Third Amended Complaint in the

Litigation that Defendant Crimson has infringed claims of United States Patent No. 7,823,850,

titled “Mounting Bracket,” issued November 2, 2010 (the “’850 Patent”             and “the Patent

Claim”);




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       WHEREAS, the parties stipulate and agree as follows:

       Plaintiff and Defendant Crimson stipulate and agree to a finding of damages in the

amount of $40,000, which will result in the entry of final judgment in favor of Plaintiff and

against Crimson in the amount of $40,000, inclusive of all costs, for the Patent Claim;

        Plaintiff and Defendant Crimson stipulate and agree that Crimson does not agree that the

‘850 Patent is valid or infringed by Crimson;

       Plaintiff and Defendant Crimson stipulate and agree that all other rights of both parties on

all other issues of the Litigation, including those to file post-trial motions and appeals, are fully

preserved; and

       Plaintiff and Defendant Crimson stipulate and agree that execution of the judgment

contemplated herein shall be stayed pending exhaustion of all post-trial motions and appeals, and

that Peerless will not execute on the judgment until all post-trial motions and appeals are

exhausted, and that no bond will be required to stay this judgment pending appeals.




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Dated: Chicago, Illinois
       April 25, 2018


/s/ Peter R. Ryndak                         /s/ Andrew M. Gross
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